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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


     NAVY SEAL 1, et al.,

            Plaintiffs,

     v.                                                    CASE NO. 8:21-cv-2429-SDM-TGW

     LLOYD AUSTIN, et al.,

           Defendants.
     ___________________________________/


                                                 ORDER

            The defendants move (Doc. 118) for a stay pending an appeal from a prelimi-

     nary injunction. The plaintiffs oppose (Doc. 132) the stay. An evidentiary hearing

     occurred on March 10, 2022.

            In a brief time in this action, the participants have spoken and written much,

     and much confusion has arisen. As a part of that confusion and in zealously pressing

     their respective objectives, the parties might attribute to a court order an interpreta-

     tion that strays from the words and the purpose of the order and that strays from the

     understanding and purpose of the judge who entered the order. *




            *
               The problems of meaning and interpretation are aggravated by the frailty of words as a
     means both to convey a writer’s intended message and to exclude an unintended message. In the dif-
     ficult task of fashioning an injunction, the drafting problem is compounded by unforeseen and
     changing circumstances and, as the facts, the law, and the issue are refined, by an evolving under-
     standing of the parties’ dispute.
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           But a tranquil resort to the basics will mitigate the confusion, including confu-

     sion between (1) a preliminary injunction (the injunction in this action) preventing

     vaccination and discipline and preventing retaliation for the exercise of statutory

     rights under RFRA and (2) a preliminary injunction (not the injunction in this ac-

     tion) preventing the normal and lawful exercise of military command. The February

     18, 2022, preliminary injunction (Doc. 111 at 47) states:

                  The motion (Doc. 60) is GRANTED, and the defendants are
                  PRELIMINARILY ENJOINED (1) from enforcing against
                  Navy Commander and Lieutenant Colonel 2 any order or regu-
                  lation requiring COVID-19 vaccination and (2) from any ad-
                  verse or retaliatory action against Navy Commander of Lieu-
                  tenant Colonel 2 as a result of, arising from, or in conjunction
                  with Navy Commander’s or Lieutenant Colonel 2’s requesting
                  a religious exemption, appealing the denial of a request for a re-
                  ligious exemption, requesting reconsideration of the denial of a
                  religious exemption, or pursuing this action or any other action
                  for relief under RFRA or the First Amendment.

           The operative language of the preliminary injunction is direct and specific.

     Pending resolution of the pending RFRA claims, the preliminary injunction nar-

     rowly and specifically protects Navy Commander and Lieutenant Colonel 2 (1) from

     enforcement of an order to either accept vaccination or undergo discipline, including

     possible separation from service, and (2) from any adverse action that is retaliatory.

     Any interpretation to the contrary is wrong, including the interpretation advanced at

     the March 10, 2022 hearing that the preliminary injunction precludes, in all circum-

     stances, consideration of vaccination status. (The balance of this order addresses

     only retaliation, the question that is the source of the present motion.) Consistent

     with the preliminary injunction, the defendants remain at liberty to issue commands,


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     assignments, orders, and the like in the normal course of business, including an order

     directed to Navy Commander or Lieutenant Colonel 2 (although a later order might

     determine that some adverse action, although not constituting retaliation, failed in

     violation of RFRA to reasonably accommodate the lack of vaccination by relaxing,

     suspending, or waiving the pertinent order, rule, regulation, or other requirement,

     such as the status of “deployable,” which is a restriction the military imposes on it-

     self). In other words, if the Navy has a non-retaliatory reason to re-assign Navy

     Commander, the injunction remains indifferent to that non-retaliatory exercise of

     command authority. If the Navy issues an order that Navy Commander believes is

     retaliatory and contrary to the preliminary injunction, Navy Commander can move

     in the district court for, as RFRA provides, “an appropriate remedy.” As the statute

     suggests, RFRA is remedial and not punitive; the statute contemplates a “make

     whole” remedy, not contempt. In this action and in others, the familiar mechanics

     (nothing more, nothing less) of managing a preliminary injunction apply.

           The narrow protection offered Navy Commander and Lieutenant Colonel 2

     by the preliminary injunction offers the least restrictive means available to ensure the

     meaningful review and to secure the fundamental rights explicitly protected by

     RFRA. If the defendants can retaliate at will and with impunity against a RFRA

     claimant, the reason for RFRA is eviscerated and the explicit congressional purpose

     for RFRA is wholly thwarted. (RFRA’s purpose is discussed thoroughly in Doc. 111

     at 16–29 and in Doc. 122 at 3–8).



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            Typically, a proceeding triggered by a preliminary or a permanent injunction

     occurs after the motion of a party asserting either a violation of the injunction or as-

     serting a need for a modification or clarification of an injunction (such as, whether a

     particular action offends the injunction). In this action and contributing much to the

     present flurry of activity, neither party moved for enforcement, modification, or clari-

     fication.

            Instead, at the hearing that resulted in the preliminary injunction, the plaintiffs

     presented the testimony of Navy Commander and Lieutenant Colonel 2. The de-

     fendants offered no live testimony and no deposition. Rather, the defendants offered

     a last-minute declaration from Navy Commander’s executive officer aiming to estab-

     lish that Navy Commander in recent days had lied to his commanding officer, that

     because of the alleged lies the Navy had “lost confidence” in his ability to command,

     and that Navy Commander’s immediate removal from his command was warranted.

     But credibility issues about the declarations were created by the timing of the un-

     cross-examined declarations, by the well-known risk of command influence, and by

     the declarations’ supplying a handy and putatively neutral reason for removing Navy

     Commander from his command at a critical moment amidst his effort to assert under

     RFRA a religious exemption from vaccination. Additionally, the declarations were

     offered to negate live, cross-examined, and credible testimony.

            Recognizing that an un-cross-examined declaration (in this instance, from de-

     clarants under the immediate and exclusive command of the proffering party) should

     rarely, if ever, overcome live and credible testimony, the preliminary injunction

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     remarks (Doc. 111 at 12, n. 3) the need for further proceedings to reconcile the con-

     flict between the testimony of Navy Commander and the content of the declarations.

     As the order states:

                  A determination of the credibility of the statements in the [dec-
                  larations]—examination is necessary in this circumstance to
                  permit assessment of, among other things, the extent to which
                  ‘command influence’ might have affected the presence or con-
                  tent of the [declarations].

     Without waiting for a hearing, along with the “live testimony and further explora-

     tion” available at a hearing, the defendants moved in the district court for an “imme-

     diate administrative stay,” which was denied in an order that scheduled a March 10,

     2022 evidentiary hearing.

           Although the March 10 hearing resulted in the defendants’ offering no testi-

     mony, live or otherwise, to support the claim that the Navy’s alleged “loss of confi-

     dence” is bona fide and not retaliatory, the hearing identified a possible ambiguity —

     not an ambiguity in the preliminary injunction (Doc. 111) but an ambiguity in the or-

     der (Doc. 122) denying the “emergency administrative stay.” First, on page eleven,

     the order responds to the assertion, lodged in the circuit court of appeals by the de-

     fendants, that the preliminary injunction usurps authority over both “composing,

     training, equipping, or otherwise controlling the military” and “assigning, promoting

     or demoting” military personnel. (The preliminary injunction neither undertakes nor

     accomplishes anything of the sort.) The next two sentences of the order note that the

     order merely preserves against retaliation the status quo — the assignments, promo-

     tion, and the rest — which was awarded by the defendants and not by the court. The

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     last sentence of the first full paragraph on page eleven clarifies any ambiguity in the

     preceding sentences:

                  As an interim “appropriate remedy,” the preliminary injunction
                  prevents an adverse action by the military against Navy Com-
                  mander and Lieutenant Colonel 2 based on their resort to the
                  court in an effort to acquit their statutory rights under RFRA.

           The first sentence of the final paragraph on page eleven (Doc. 122 at 11) might

     create an ambiguity, but only if read in isolation from the preliminary injunction,

     without regard to the balance of the order, and without consideration of, or without

     knowledge of, the usual and available mechanics of enforcing an injunction. In brief,

     an enjoined party who wants to undertake some action but who is subject to an in-

     junction has, in general, three options. Forbear the action; either undertake the ac-

     tion either confident that the action is not athwart the injunction or undertake the ac-

     tion at risk of the consequences of violating the injunction; or move for clarification,

     modification, or the like to vindicate (or not) the proposed activity in advance.

           In accord with the third option, the first sentence of the final paragraph on

     page eleven (Doc. 122 at 11) states:

                  If the military has a non-retaliatory reason for some adverse ac-
                  tion against Navy Commander and Lieutenant Colonel 2, the
                  military can move for a modification of the injunction, which is
                  always an option for a party subject to a preliminary, or even a
                  permanent, injunction.

           This sentence, self-classified as an “option,” was intended as a reminder or a

     suggestion or a reassurance to the military that, as an alternative to forbearing an ac-

     tion or undertaking an action at risk of running afoul of the injunction, the district

     court was available for a prompt resolution. In sum, like any other litigant, the
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     military can forbear the proposed action, either undertake the action confident that

     the action is not athwart the injunction or undertake the action at risk of the conse-

     quences of violating the injunction, or move for clarification, modification, or the

     like to “clear,” or otherwise allow for, the proposed action in advance.

           In this instance, because the preliminary injunction permits the re-assignment

     or the like of Navy Commander and Lieutenant Colonel 2 for a non-retaliatory rea-

     son (although RFRA might require a reasonable accommodation) but prohibits re-

     assignment or the like for a retaliatory reason, the defendants remain free to re-assign

     Navy Commander and Lieutenant Colonel 2 or to forbear re-assignment, in either

     case without a motion in court, or to move in court for a determination in advance.

     The court remains open to Navy Commander or Lieutenant Colonel 2 (1) to move

     for an “appropriate remedy” if some adverse and retaliatory measure is directed to-

     ward either or (2) to move to protect a failure to reasonably accommodate.

                                     CONCLUSION

           The motion (Doc. 118) is DENIED. I continue to credit the testimony of

     Navy Commander and Lieutenant Colonel 2 because the testimony was and is credi-

     ble and persuasive and because, despite two opportunities, the defendants have of-

     fered no live testimony to rebut either. I persist in the rulings in the preliminary




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     injunction (Doc. 111) and the order denying the “emergency administrative stay.”

     (Doc. 122)

           ORDERED in Tampa, Florida, on March 11, 2022.




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